          Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 1 of 13



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ASHTON WILKINS,
                                              Civil Case No. 17-884 (CKK)
 Plaintiff,

 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, OWAIS AKHTAR,
 CAMERON REYNOLDS, A. WILLIS,
 Jr., FRANCIS MARTELLO, & AMINA
 COFFEY,

 Defendants.


                   DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S
                   STATEMENT OF UNDISPUTED MATERIAL FACTS

        Defendants District of Columbia (“the District”), Officer Owais Akhtar, Officer Cameron

Reynolds, Officer Anthony Willis, Jr., Lt. Francis Martello, and Officer Amina Coffey, through

undersigned counsel and pursuant to Fed. R. Civ. P. 7(b) and 56(e), respectfully move this

Honorable Court to strike Plaintiff’s Statement of Undisputed Material Facts (ECF DKT #35).

        Plaintiff has not filed a cross-Motion for Summary Judgment, so his sixty-seven

paragraph “Statement of Undisputed Material Facts” is not contemplated by the Rules governing

this proceeding. This Court’s Scheduling and Procedures Order (ECF DKT # 20) states:

               However, if the responding party has additional facts that are not
               directly relevant to its response, it must identify such facts in
               consecutively numbered paragraphs at the end of its responsive
               statement of facts. If additional factual allegations are made, the
               opponent must file a responsive statement of its own.

Id. at 6(e).
           Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 2 of 13



Plaintiff has not included only “additional factual allegations.” Nor has he simply identified the

“material” facts that were allegedly omitted from Defendants’ Statement of Material Facts.

Instead, Plaintiff has effectively re-plead and reargued every detail of this case. Further, most or

all of the distinct factual allegations having a bearing on Defendants’ Motion for Summary

Judgment are already contained in Plaintiff’s responsive Statement of Material Facts (ECF DKT

# 29-1).

        In addition, Plaintiff’s Statement ostensibly contains sixty-seven paragraphs. But many

of these seven-seven paragraphs contain numerous distinct facts. For example, Plaintiff’s

Statement of Undisputed Material Fact ¶ 17 contains approximately six discreet facts, none of

which appear to have any bearing on the issues before this Court. Some allegations are pure

argument, lacking any citation to the record. For example:

               Officers Akhtar and Reynolds in both their arrest report and in their
               statement of facts in their summary judgment motion exaggerate the
               situation they found in Gallery Place when they arrived[.]

Id. at ¶ 18.

Plaintiff argues that “Officers Akhtar and Reynolds in both their arrest report and in their

statement of facts try to “gaslight” this Court by exaggerating the actions of the bystanders they

found when they arrived in Gallery Place.” Id. at ¶ 19. The inclusion of these arguments is a

violation of this Court’s Scheduling and Procedures Order. (ECF DKT # 20, no. 6(a) and (b)).

Defendants therefore ask that Plaintiff’s Statement of Undisputed Material Facts be stricken from

the record. Defendants will file a Reply brief by the April 22, 2019 deadline, but they

respectfully ask the Court to waive its requirement that they file a “responsive statement of

[their] own.” (ECF DKT # 20 at ¶ 6(e)). The burden of doing so for Defendants, and the




                                                 2.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 3 of 13



apparent futility of effectively responding to an extended argument, weighs strongly in favor of

granting this relief.

        In support of this Motion, Defendants submit the attached memorandum of points and

authorities and a proposed order for the Court’s consideration.

DATE: March 25, 2019                         Respectfully submitted,

                                             KARL A. RACINE
                                             Attorney General for the District of Columbia

                                             GEORGE C. VALENTINE
                                             Deputy Attorney General
                                             Civil Litigation Division

                                             /s/ Michael K. Addo
                                             MICHAEL K. ADDO [1008971]
                                             Chief, Civil Litigation Division, Section IV

                                             /s/ Benjamin E. Bryant
                                             BENJAMIN E. BRYANT [1047632]
                                             ROBERT A. DEBERARDINIS, JR. [335976]
                                             Assistant Attorneys General
                                             441 4th Street, NW, Suite 630 South
                                             202-724-6652; (202) 724-6642
                                             202-730-0624 (fax)
                                             benjamin.bryant@dc.gov;
                                             robert.deberardinis@dc.gov

                                             Counsel for Defendants




                                                3.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 4 of 13



                       CERTIFICATION PURSUANT TO LCvR 7(m)

       Pursuant to LCvR 7(m), the undersigned counsel hereby certifies that he sought consent

for the relief sought by this Motion from Plaintiff’s counsel William Claiborne, Esq., copying

Plaintiff’s counsel Joseph Scrofano, Esq., on March 22, 2019 via electronic mail. Plaintiff has

not consented, and this Motion is opposed.

                                             /s/ Benjamin E. Bryant
                                             BENJAMIN E. BRYANT




                                                4.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 5 of 13



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ASHTON WILKINS,
                                                   Civil Case No. 17-884 (CKK)
 Plaintiff,

 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, OWAIS AKHTAR,
 CAMERON REYNOLDS, A. WILLIS,
 Jr., FRANCIS MARTELLO, & AMINA
 COFFEY,

 Defendants.


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S STATEMENT OF
                      UNDISPUTED MATERIAL FACTS

        Defendants District of Columbia (“the District”), Officer Owais Akhtar, Officer Cameron

Reynolds, Officer Anthony Willis, Jr., Lt. Francis Martello, and Officer Amina Coffey, through

undersigned counsel and pursuant to Fed. R. Civ. P.7(b) and 56(e), respectfully move this

Honorable Court to strike Plaintiff’s Statement of Undisputed Material Facts. Plaintiff has failed

to comply with this Court’s Orders regarding the proper procedures to follow in opposing a

motion for summary judgment and has thereby made it impossible for Defendants to respond.

Defendants therefore ask that Plaintiff’s Statement of Undisputed Material Facts (ECF DKT #

35) be stricken from the record in its entirety.

                                         BACKGROUND

        On November 13, 2018, the District, Officer Owais Akhtar, Officer Cameron Reynolds,

Officer Anthony Willis, Jr., Lt. Francis Martello, and Officer Amina Coffey filed a Motion for
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 6 of 13



Summary Judgment. (ECF DKT # 21). On February 20, 2019, Plaintiff filed an Opposition to

Defendants’ Motion for Summary Judgment. (ECF DKT # 25 and # 26).

       This Court then struck Plaintiff’s opposition papers. Feb. 21, 2019 Minute Order.

       On March 8, 2019, Plaintiff filed a renewed opposition, which included “Plaintiff’s

Statement of Undisputed Material Facts.” (ECF DKT # 35). Due to the pervasive deficiencies

identified in further detail below, Defendants now move to strike Plaintiff’s Statement of

Undisputed Material Facts.

                                         ARGUMENT

I.     This Court Should Strike Plaintiff’s Filing Because It Contains Argument to Which
       No Response Is or Should Be Required.

       Plaintiff did not comply with this Court’s Order because his current Statement of

Undisputed Material Facts contain many paragraphs of pure argument. For example:

       8.      Defendants did not point to any summary judgment materials
               showing that defendants gave Mr. Wilkins any commands after
               Defendants’ Ex. G starts [sic].

       9.      Defendants did not point to any summary judgment materials
               showing that Mr. Wilkins heard any commands from any officer
               after Defendants’ Ex. G starts [sic].

       […]

       11.     No SMFs indicate any officer told Mr. Wilkins he was under arrest.

       […]

       18.     Officers Akhtar and Reynolds in both their arrest report and in their
               statement of facts in their summary judgment motion exaggerate the
               situation they found in Gallery Place when they arrived[.]

       […]

       29.     Defendants’ presentation of Officer Reynolds’s attack and savage
               beat down of Mr. Johnson presents a fake narrative paints a
               misleading picture.



                                                2.
 Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 7 of 13




[…]

33.   Subsequently, Akhtar snuck a strike to Mr. Wilkins’s back after
      Officer Willis pepper-sprayed Mr. Wilkins (shown on Defendants’
      Ex. G) after Officer Akhtar had already hit Mr. Wilkins a “bunch of
      times” on his legs. Defendants try to collapse the two separate
      events into one event, defendants’ SMF ¶ 18, but this SMF is
      contradicted by Mr. Wilkins’ deposition testimony, and it is not
      clearly contradicted by any video. This section addresses the
      Akhtar’s first “off-video” strikes to the leg and knee.

59.   The officers colluded in producing a false narrative of the events in
      their arrest report that falsified inculpatory facts about the arrestees
      and omitted all inculpatory facts knowing that the AUSA would
      reply on their version of events to make the decision whether to
      “paper” the case.

60.   Willis, Akhtar and Reynolds lied and fabricated a false narrative in
      the arrest report when they helped Akhtar write an arrest report
      which omitted all mention of Reynolds use of violence against
      Johnson, and Officer Willis’ use of violence against Horton Smith-
      Shearer, and his false seizure of Mr. Favors, and which omitted all
      mention of their use of force against Mr. Wilkins.

61.   Officer Akhtar's “belief” that he claimed to have seen Mr. Wilkins
      swung at Reynolds’ back area was intentionally fabricated.

62.   Officer Akhtar's testimony that “when Officer Reynolds was on the
      ground, he -- not bent over, but like a squat position, and he -- it
      looked like he was swinging on his back area” was intentionally
      fabricated. See defendants’ SMF ¶¶ 12 and 13.

63.   Officer Willis’ “belief” that he claimed to have seen Mr. Wilkins
      swung at Reynolds’ back area was intentionally fabricated.

64.   Officer Willis’ testimony that “I know -- remember glancing out the
      corner of my eye that when Officer Reynolds -- Reynolds was on
      the ground, and I didn't know what he was doing, but he was doing
      something,” is intentionally fabricated.

65.   [T]he officers’ arrest report paints a disingenuous picture to the
      extent it says: […]

66.   The bystander video does not show Mr. Wilkins swinging at Officer
      Reynolds nor does it show Mr. Wilkins’ “raising his arms” or



                                        3.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 8 of 13



                 “[taking] a fighting stance.” Mr. Wilkins’ arms are at his sides the
                 whole time. Wilkins depo, Ex. W5. Second, Officer Ahktar’s report
                 whitewashes the savagery of the police attack on Mr. Wilkins.
                 Officer Ahktar’s report describes: “A struggle ensued between
                 defendant Wilkins and officers Akhtar and Willis.”

ECF DKT # 35 at pages 2, 3, 6, 9, 10.

        Few of the above-referenced paragraphs even cite to the record. Other paragraphs refer

to facts but also include argument. For example:

        25.      According to Officer Willis, Mr. Favors was “the most dangerous
                 threat at the moment” and Officer Willis had already neutralized that
                 “threat” by putting hand cuff on him. p. 254. And even Mr. Favors
                 obviously did not pose a real threat because Officer Willis testified
                 at his deposition that Mr. Favors was not “an active threat towards
                 us, nor did he swing at us.” Willis depo., p. 262.

Id. at page 5.

        See also Id. at ¶ 28 (“Also, the fact that he did not go to help Officer Willis, Reynolds

depo, p. 85, belies the assertion.”) Despite this Court’s February 21, 2019 Minute Order,

Plaintiff also included a legal citation in one of his arguments, quoting from In re T.L., 996 A.2d

805, 811 (D.C. 2010). Id. at ¶ 20, page 3. These are arguments, not material facts.

        Striking Plaintiff’s Statement is not a harsh remedy given this Court’s authority to deem a

Motion for Summary Judgment unopposed if the nonmoving party fails to comply with Rule

56(e) and the local rules in other circumstances. Twist v. Meese, 854 F.2d 1421 (D.C. Cir. 1988)

(citing Tarpley v. Greene, 684 F.2d 1 (D.C. Cir. 1982)). In Twist v. Meese, the court noted that

“a district court judge should not be obligated to sift through hundreds of pages of depositions,

affidavits, and interrogatories in order to make his own analysis and determination of what may,

or may not, be a genuine issue of material disputed fact.” 854 F.2d at 1425. Plaintiff’s

superfluous Statement of Undisputed Material Facts results in a similar burden on the Court.

        This Court has stated that “there shall be no ambiguous responses of ‘not disputed, with


                                                  4.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 9 of 13



qualifications,’ ‘true, but,’ or other permutations.” February 21, 2019 Minute Order. Plaintiff’s

Statement makes it impossible for Defendants to respond as required because so many of the

paragraphs contain facts that are not at issue or contain pure argument. Any attempt to respond

to them would require Defendants to also make improper arguments. Per the Court Rules and

this Court’s Orders, such arguments belong in the parties’ briefs.

        Because Plaintiff’s inclusion of argument has made it impossible to respond in a manner

that complies with the Court’s orders, Defendants Motion to Strike should be granted.



II.     The Court Should Strike Plaintiff’s Filing Because It Violates This Court’s
        Scheduling and Procedures Order.

        This Court’s Scheduling and Procedures Order provides that in responding to a motion

for summary judgment:

                The responding party must include any information relevant to its
                response in its correspondingly numbered paragraph, with specific
                citations to the record. However, if the responding party has
                additional facts that are not directly relevant to its response, it must
                identify such facts in consecutively numbered paragraphs at the end
                of its responsive statement of facts. If additional factual
                allegations are made, the opponent must file a responsive
                statement of its own.

ECF DKT # 20 at ¶ 6(e) (emphasis in original).

The responding party is apparently bound to the same requirement imposed on the moving party:

“[t]he statement must contain only one factual assertion in each numbered paragraph.” Id. at

¶ 6(b) (emphasis in original). Plaintiff’s filing is in clear violation of these dictates.

        Further, this Court’s February 21, 2019 Minute Order states in pertinent part:

                There are additional problems with Plaintiff's [25-1] Statement of
                Undisputed Material Facts with Plaintiff's Final Objections and
                Counterstatement of Facts. Plaintiff shall strictly comply with
                Paragraph 6 of the Court's [20] Scheduling and Procedures Order.


                                                   5.
           Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 10 of 13



                Although the Court expects full compliance with those instructions,
                the Court shall address glaring issues here. The revised statement(s)
                shall exclude all legal argument and legal citations; any excised
                legal argument or legal citations may be included in a revised
                Opposition brief.

Id.

Plaintiff has not complied with this Court’s Order because most of his paragraphs contain

numerous facts and many do not cite to the record.

        Paragraphs 11, 12, 18, 29, 31, 37, 49, 52, 59, 60, 61, 63, and 64 contain no citation to the

record. This violates LCvR 7(h), which requires oppositions to summary judgment motions to

include:

                a separate concise statement of genuine issues setting forth all
                material facts as to which it is contended there exists a genuine issue
                necessary to be litigated, which shall include references to the parts of
                the record relied on to support the statement.

Id.

        Plaintiff has also violated this Court’s Scheduling and Procedures Order (ECF DKT #20),

¶ 6(b), which states in part that “The statement must contain only one factual assertion in each

numbered paragraph.” Plaintiff has instead included many paragraphs that contain numerous

allegations of fact. See ECF DKT # 35 at ¶¶ 11, 18, 25, 28, 29, 30, 66, and 67. Paragraph 17 is

also deficient. It states:

        17.     When Officers Akhtar and Reynolds arrived on scene, Officer
                Coffey was detaining Horton Smith-Shearer up against the side of
                Clyde’s near the brass fireplug and Officer Willis was putting
                handcuffs on Mr. Favors on the steel grate just off the cement strip
                that borders Clyde’s, and then the two moved out into the middle of
                the plaza. Harrison video, 28; 1:08; Clyde’s video, 16:24:00 to
                16:24:11; Coffey holding onto guy in handcuffs; Willis trying to
                detain someone (Akhtar, 87); Individual being detained by Willis
                standing up; Akhtar could not see what individual was doing while




                                                   6.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 11 of 13



                  Willis was trying to detain him; Willis did not appear to need
                  assistance (Akhtar, 87-88).

Id. at page 3.

This appears to be a narrative of the contents of a video, and it contains approximately eight

distinct facts.

        In addition, two numbered “statements” are just pictures. Id. at ¶ 42, 43. Defendants

cannot respond to pictures because they do not know what “material” fact Plaintiff claims are

depicted.

        Further, Plaintiff has included facts that are not material to Defendants’ Motion for

Summary Judgment. For example, Plaintiff states:

        14.       Little brother and good shepherd Mr. Johnson were trying to leave
                  Gallery Place when Officer Akhtar accosted little brother in an
                  aggressive and disrespectful manner. Harrison video, 1:18 to 1:20,
                  Johnson depo, p. 52-4. The video shows them walking away from
                  Officer Coffey and Horton Smith-Shearer on the left and Officer
                  Willis and Mr. Favors (holding a skateboard) on the right (from the
                  viewer’s perspective). Clyde’s video, 16”23:49 to 16:24:00;
                  Harrison video 1:17 to 1:20.

        15.       Heckler Harrison never incited the bystanders against the police as
                  the audio evidences. Harrison video, passim.

        16.       Heckler Harrison never urged Horton Smith-Shearer to break free
                  nor did he urge anyone to intervene to break him free. Harrison
                  video, passim.

ECF DKT #35 at page 3.

        Neither “little brother” nor “Good shepherd Mr. Johnson” nor “Heckler Harrison” are

parties to this suit, and Plaintiff’s arguments here have no bearing on the issues presented to the

Court in Defendant’s Motion. See also, Id. at ¶ 17, page 3. These deficiencies also justify striking

Plaintiff’s Statement of Undisputed Material Fact from the record.




                                                  7.
        Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 12 of 13



        Plaintiff’s failure to comply with the rules makes it impossible for Defendants to respond

in a manner that complies with the Court’s Scheduling and Procedures Order. Accordingly, the

Court should strike Plaintiff’s filing.

                                          CONCLUSION

        For the foregoing reasons, an appropriate response to Plaintiff’s Statement of Undisputed

Material Facts is not possible. Defendants therefore move the Court to strike it from the record.

Defendants will a Reply brief addressing Plaintiff’s Opposition by the current April 22, 2019

deadline, but respectfully ask that they be relieved from this Court’s requirement that they

furnish “a responsive statement of [their] own” without considering any “facts” as “conceded.”

DATE: March 25, 2019                         Respectfully submitted,

                                             KARL A. RACINE
                                             Attorney General for the District of Columbia

                                             GEORGE C. VALENTINE
                                             Deputy Attorney General
                                             Civil Litigation Division

                                             /s/ Michael K. Addo
                                             MICHAEL K. ADDO [1008971]
                                             Chief, Civil Litigation Division, Section IV

                                             /s/ Benjamin E. Bryant
                                             BENJAMIN E. BRYANT [1047632]
                                             ROBERT A. DEBERARDINIS, JR. [335976]
                                             Assistant Attorneys General
                                             441 4th Street, NW, Suite 630 South
                                             202-724-6652; (202) 724-6642
                                             202-730-0624 (fax)
                                             benjamin.bryant@dc.gov;
                                             robert.deberardinis@dc.gov

                                             Counsel for Defendants




                                                8.
         Case 1:17-cv-00884-CKK Document 40 Filed 03/25/19 Page 13 of 13



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ASHTON WILKINS,
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 Plaintiff,

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 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, OWAIS AKHTAR,
 CAMERON REYNOLDS, A. WILLIS,
 Jr., FRANCIS MARTELLO, & AMINA
 COFFEY,

 Defendants.


                                            ORDER

        Upon consideration of Defendants’ Motion to Strike Plaintiff’s Statement of Undisputed

Material Facts (ECF DKT ¶ 35), any opposition thereto, and the entire record herein, it is

        ORDERED that the motion is hereby GRANTED; and it is further

        ORDERED this Plaintiff’s Statement of Undisputed Material Facts is hereby
        STRICKEN;

        SO ORDERED.

Dated: ____________, 2019

                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
